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UN|TED STATES D|STR|CT COURT
M|DDLE D|STR|CT OF FLOR|DA
JACKSONV|LLE D|VlS|ON
ANTT| PORKKA,
P|aintiff,
vs. Case No.: 3:17-cv-245-J-25JRK
UN|VERS|TY OF SOUTH FLOR|DA
BOARD OF TRUSTEES, FLOR|DA
COMMUN|TY HEALTH ACT|ON
lNFORMAT|ON NETWORK, lNC.,
and THE FAM|LY HEALTHCARE
FOUNDAT|ON, lNC.,

Defendants.

CONSENT JlL'.)GM|_=._NT AND PERMAN§NT |NJUNCT|ON

Upon consideration of the Joint |V|otion for Entry of Consent
Judgment and Permanent |njunction between P|aintiff Antti Porkka
(P|aintiff) and Defendant The Fami|y Healthcare Founda'iion, |nc. (FHF)
(Dkts. 160, 167), and P|aintiff and Defendant Florida Community Hea|th
Action |nformation Netvvork, |nc. (F|orida CHA|N) (Dkts. 132, 166), and the
agreed upon findings in said motions, the following is

ORDERED AND ADJUDGED:

1. The motions are GRANTED in part.

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2. FHF and Florida CHAlN and their respective officers, agents,
servants, employees and such other persons Who are in active concert
or participation With them shall be, and are hereby, permanently
restrained, prohibited and enjoined from infringing, by any means,
directly or indirect|y, any of P|aintiff’s exclusive rights in the “H" Logo.

3. This Court retains jurisdiction of this matter for the sole purpose
of enforcing this Permanent |njunction. This Court does not retain
jurisdiction to enforce any other provisions of the parties’ Confidentia|
Agreement.

4. The Clerk of Court is directed to enter Judgment for P|aintiff
and against Defendant The Fami|y Healthcare Foundation, |nc. and
Defendant Florida Community Hea|th Action |nformation Network, |nc.,
respectively

DCNE AND ORDERED at Jacksonvi||e, Florida, this _‘_(a“'_"d'ay

of February, 2018.

    
 

ADAMS, JR.
United Stat s District Judge

Copies to: Counse| of Record

